     Case: 1:20-cv-03256 Document #: 28 Filed: 08/14/20 Page 1 of 2 PageID #:142
                       IN THE UNITED STATES DISTRICT
                          COURT FOR THE NORTHERN
                        DISTRICT OF ILLINOIS EASTERN
                                   DIVISION



  Prinzo & Associates, LLC, on behalf of itself and
  all others similarly situated,
                                                          Case No. 1:20-cv-3256
           Plaintiff,
   v.

  BMO Harris Bank N.A.; BMO Financial Corp., a
                                                           Hon. Gary S. Feinerman
  Delaware corporation; and Does 1-100, inclusive,

           Defendants.


                                  NOTICE OF MOTION

        Please take notice that on Thursday, August 20, 2020 at 9:00 a.m., or as soon

thereafter as I may be heard, I shall appear telephonically pursuant to the Fifth

Amended General Order 20-0012 before the Honorable Judge Gary S. Feinerman or

any judge sitting in his stead and shall then and there present Defendants’ Motion to

Dismiss.

                                        Respectfully submitted,

                                        /s/Jeffrey E. Jamison

                                        BMO Harris Bank N.A. & BMO Financial Corp.
                                        Jeffrey E. Jamison
                                        Julie Rodriguez Aldort
                                        BMO Harris Bank N.A.
                                        111 West Monroe
                                        Chicago, IL 60606
                                        Tel. (312) 461-4694
                                        Email: jeffrey.jamison@bmo.com
                                        Email: julie.aldort@bmo.com



                                               1
    Case: 1:20-cv-03256 Document #: 28 Filed: 08/14/20 Page 2 of 2 PageID #:143
                               CERTIFICATE OF SERVICE


      The undersigned attorney hereby certifies that the aforementioned document

was filed through the Court’s CM/ECF system on August 14, 2020. Parties of record

may obtain a copy through the Court’s CM/ECF system. The undersigned certifies

that no party of record requires service of documents through any means other than

the CM/ECF system.


                                                     /s/ Jeffrey E. Jamison




                                         2
